       Case 2:12-bk-25842-BR                      Doc 813 Filed 04/16/19 Entered 04/16/19 12:38:51                                               Desc
                                                    Main Document    Page 1 of 6




 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &        FOR COURT USE ONLY
 Email Address
Richard W. Esterkin, Cal. State Bar No. 70769
MORGAN LEWIS & BOCKIUS LLP
300 S Grand Ave FI 22
Los Angeles CA 90012-3132
Tel: (213) 612-2500
Fax: (213) 612-2501
richard.esterkin@morganlewis.com




 o     Individual appearing without an attorney
 IBI   Attorney for: Plaintiff, Jason M. Rund, Ch. 7 Trustee

                                          UNITED STATES BANKRUPTCY COURT
                              CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

 In re:                                                                        CASE NO.: 2:12-BK-25842-br
                                                                               CHAPTER: 7
~AKELAND DEVELOPMENT COMPANY,


                                                                               NOTICE OF LODGMENT OF ORDER IN
                                                                               BANKRUPTCY CASE RE: (title of motion 1):
                                                                               MOTION FOR RELIEF FROM THE
                                                                               AUTOMATIC STAY (ACTION IN NON-
                                                                Debtor(s)      BANKRUPTCY FORUM)


PLEASETAKE NOTEthat the order titled Stipulated Order Resolving Motion for Relief from the Automatic Staty (Action in
Non-Bankruptcy Forum)

was lodged on (date)        04/16/2019           and is attached. This order relates to the motion which is docket numberML.




  Please abbreviate if title cannot fit into text field.

          This form is mandatory.   It has been approved for use by the United States Bankruptcy Court for the Central District of California.


December 2012                                                       Page 1                         F 9021-1.2.BK.NOTICE.LODGMENT
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                                                  Main Document    Page 2 of 6



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 Morgan Lewis & Bockius LLP, 300 S Grand Ave FI 22, Los Angeles CA 90071-3132


A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT OF ORDER IN BANKRUPTCY
CASE will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and
(b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
    04/16/2016     , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
  Richard T. Baum, Ronald K. Brown, Christopher T Casamassima, Thomas H. Casey, Joseph Corrigan, Steven M.
  Crane, Richard W. Esterkin, Donald T. Fife, Jesse S. Finlayson, Scott Friedberg, Robert S. Gebhard, Barry S. Glaser,
  Matthew A. Gold, Noah M. Golden-Krasner, Richard H. Golubow, Brian L. Holman, David R. Isola, Lawrence M.
  Jacobson, Lance N. Jurich, Louis E. Kempinsky, Kenneth G. Lau, John G. McCarthy, Kanthleen M. McCarthy (cont.),
                                                                                       [8J   Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date)                 04/16/2019      , I served the following persons andlor entities at
the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.
  The Hon. Barry Russell .
  US Bankruptcy Court, Central District of California
  Edward R Roybal Federal Building and US Courthouse
  255 E Temple St Ste 1660, Los Angeles CA 90012
                                                                                       D Service       information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 andlor controlling LBR, on (date)                      , I served
the following persons andlor entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission andlor email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                       o Service information continued on attached page
I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

04116/2019             Renee Robles                                                               ~~
Date                        Printed Name                                                         Signature        '




        This form is mandatory.   It has been approved for use by the United States Bankruptcy Court for the Central District of California.


December 2012                                                     Page 2                         F 9021-1.2.BK.NOTICE.LOOGMENT
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Service Information (cont.):

Randy P. Orlik, Ronald E. Ostrin, Mark D. Plevin, James Potter, Jason M. Rund, Philip
E. Smith, United States Trustee (LA), Howard J. Weg, Christopher F. Wilson, and
Stephen Wong.
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                          1    MORGAN, LEWIS & BOCKIUS LLP
                               Richard W. Esterkin, Bar No. 70769
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                               Twenty-Second Floor
                         3     Los Angeles, CA 90071-3132
                               Tel:    + 1.213.612.2500
                         4     Fax: +1.213.612.2501
                               richard.esterkin@morganlewis.com
                         5
                               MORGAN, LEWIS & BOCKIUS LLP
                         6     Jeffrey S. Raskin, Bar No. 169096
                               One Market Spear Street Tower
                         7     San Francisco, CA 94105-1596
                               Tel:     + 1.415.442.l000
                         8     Fax: +1.415.442.1001
                               jeffrey.raskin@morganlewis.com
                         9
                               Attorneys for Plaintiff, Jason M. Rund
                         10    Chapter 7 Trustee

                         11                                        UNITED STATES BANKRUPTCY COURT

                         12                                          CENTRAL DISTRICT OF CALIFORNIA

                         13                                                    LOS ANGELES DIVISION

                         14

                         15    In re                                                       Case No. 2:12-bk-25842-BR

                         16    LAKELAND DEVELOPMENT COMPANY,                               Chapter Number 7

                         17                             Debtor                             STIPULATED ORDER RESOLVING
                                                                                           MOTION FOR RELIEF FROM THE
                         18                                                                AUTOMATIC STAY (ACTION IN
                                                                                           NON-BANKRUPTCY FORUM)
                         19
                                                                                           Date: April 16, 2019
                        20                                                                 Time: 10:00 a.m.
                                                                                           Ctrm: 1668
                        21

                        22

                        23
                                         The parties hereto having stipulated thereto, and good cause appearing therefore,
                        24
                                         IT IS HEREBY ORDERED that:
                        25
                                          1.       Subject to the terms of this Order, the motion of ACE Property & Casualty
                        26
                               Company and Central National Insurance Company of Omaha for an order modifying the
                        27
                               automatic stay to permit the chapter 7 trustee herein to be named as a party in the matter of ACE
MORGAN,      LEW[S~8
  BOCKIUsLLP                                                                                      ORDER RESOLVING MOTION TO LIFT
 A TIORN   EYS AT LAW

    LOs ANGELES
                                                                                                  STAY

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                              Automatic Stav.DOCX
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                         1   Property & Casualty Insurance Co., et al. v. Certain Underwriters, et aI., Los Angeles County

                         2    Superior Court Case No. BC397070 (the "State Court Action") is granted.

                         3              2.        Notwithstanding the provisions of paragraph 1 of this Order, the parties to the

                         4    State Court Action shall be limited in relation to the discovery that may be propounded to the

                         5    Trustee, including any deposition of the Trustee, as provided in the Federal Rules of Civil

                         6    Procedure then in effect, as though the State Court Action were proceeding in this Court.

                         7              3.        The Court shall retain jurisdiction over any dispute regarding the provisions of this

                         8    Order, including, without limitation, whether any discovery served or sought in the State Court

                         9    Action exceeds the permissible limits on discovery as set forth in paragraph 2 of this Order.

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                                                                                                 ORDER RESOLVING MOTION TO LIFT
MORGAN, LEWIS &
  BOCKIUsLLP                                                                          2          STAY
 ATTORNEYS   AT   LAW
                             C:\Users\MP095382\Desktop\Order     on Stipulation re
                             Automatic Stay.DOCX
                                                                  Lodged Order Upload (L.O.U)
4/16/2019       Case 2:12-bk-25842-BR                  Doc 813 Filed  04/16/19 Entered 04/16/19 12:38:51                            Desc
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            l . 0 . U                        Bankruptcy         LODGED        ORDER      UPLOAD       FORM

                                                                                                                           Tuesday, April 16, 2019




     CONFIRMATION:


      Your      Lodged     Order     Info:
       7880093.DOCX              )
        A new      order   has   been   added




            •   Office:   Los Angeles
            •   Case Title:    Lakeland      Development            Company
            •   Case Number:        12-25842
            •   Judge Initial:     BR
            •   Case Type:     bk ( Bankruptcy
            •   Document     Number:       742
            •   On Date:    04/16/2019       @ 11 :23 AM



     Thank       You!


     United  States     Bankruptcy      Court
     Central  District    of California
     Edward   R. Roybal       Federal    Building      and    Courthouse
     255 East Temple        Street
     Los Angeles,      CA 90012




https://eet-ciao.cacb.uscou   rts .gov/UploadOrders/Default.aspx?cmCookie=   14647 -14685-113040 .222254953&cmCase Type=bk&cmAgentFor=               1/1
